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          EXHIBIT A
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     I.       Work Performed1

           A. Plaintiffs’ Motion to Compel Defendant Giuliani

 Date             Attorney                               Narrative                         Hours

03/07/23      Annie Houghton-     Reviewing draft fact section of omnibus motion to       1.8
                  Larsen          compel Giuliani (1.4); Providing edits and comments
                                  re the same (0.4).
03/08/23     Meryl C. Governski   Review and edit motion to compel R. Giuliani (1.3).     1.3

03/08/23      Annie Houghton-     Reviewing and revising omnibus motion to compel         2.7
                  Larsen          Giuliani (1.0); Legal research re the same (1.7).
03/08/23      Timothy P. Ryan     Draft insert for motion to compel R. Giuliani (1.6).    1.6

03/09/23     Meryl C. Governski   Review and revise motion to compel R. Giuliani (2.2).   2.2

03/09/23      Annie Houghton-     Drafting omnibus motion to compel Giuliani (4.0);       7.0
                   Larsen         Legal research re the same (3.0).
03/10/23     Meryl C. Governski   Review and revise motion to compel Giuliani (5.3).      5.3

03/10/23      Annie Houghton-     Revising omnibus motion to compel Giuliani (2.2);       4.2
                  Larsen          Legal research re the same (2.0).
03/12/23      Annie Houghton-     Revising omnibus motion to compel Giuliani (2.6).       2.6
                  Larsen
03/14/23       John Langford      Review initial draft of motion to compel and insert     1.9
                                  edits and comments (1.9).
03/27/23      Timothy P. Ryan     Revise draft of motion to compel Giuliani (1.5).        1.5

03/28/23      Timothy P. Ryan     Revise draft of motion to compel Giuliani (0.5); Phone 0.7
                                  call with J. Langford to discuss motion to compel (0.2).
04/03/23      Timothy P. Ryan     Revise draft of motion to compel Giuliani (1.2).         1.2

04/04/23      Timothy P. Ryan     Revise draft of motion to compel Giuliani (0.7).        0.7

04/07/23      Timothy P. Ryan     Draft motion to compel Giuliani (3.4).                  3.4

04/10/23      Timothy P. Ryan     Revise draft of motion to compel Giuliani (3.0).        3.0

04/11/23      Annie Houghton-     Reviewing and revising omnibus motion to compel         1.0
                  Larsen          Giuliani (1.0).

 1
  Counsel for Plaintiffs billed more than 300 total hours in connection with the Motion to Compel
 Defendant Giuliani, the Reply in Support of Plaintiffs’ Motion to Compel Defendant Giuliani, the
 May 19 Discovery Hearing, and Plaintiffs’ Combined Opposition to Defendant Giuliani’s Motion
 for Reconsideration and Response to Defendant’s Declaration, but submit only 147.5 hours here
 for reimbursement.

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04/11/23      Timothy P. Ryan      Revise draft of motion to compel Giuliani (1.2).           1.2

04/12/23      Annie Houghton-      Reviewing and revising omnibus motion to compel            0.7
                  Larsen           Giuliani (0.7).
04/12/23       John Langford       Review motion to compel and circulate edits (1.1).         1.1
04/13/23      Timothy P. Ryan      Revise draft of motion to compel Giuliani (2.5).           2.5

04/14/23     Meryl C. Governski    Update and draft motion to compel Giuliani (2.5).          2.5

04/14/23      Timothy P. Ryan      Revise draft of motion to compel Giuliani (2.3).           2.3

04/15/23      Timothy P. Ryan      Revise draft of motion to compel Giuliani (3.6).           3.6

04/16/23      Timothy P. Ryan      Revise draft of motion to compel Giuliani (1.4).           1.4

04/17/23     Meryl C. Governski    Edit and finalize motion to compel Giuliani, including     3.9
                                   restructuring argument and reviewing declaration and
                                   exhibits (3.9).
04/17/23      Annie Houghton-      Reviewing and revising omnibus motion to compel            0.5
                  Larsen           Giuliani (0.5).
04/17/23      Timothy P. Ryan      Revise draft of motion to compel Giuliani (2.3); Draft     6.5
                                   declaration in support of motion to compel (1.5);
                                   Prepare exhibits for motion to compel (1.4); Prepare
                                   motion to compel for filing (1.3).
             Subtotal for Plaintiffs’ Motion to Compel Defendant Giuliani:                    68.3


           B. Reply in Support of Plaintiffs’ Motion to Compel Defendant Giuliani

 Date             Attorney                                Narrative                           Hours

05/02/23      Annie Houghton-      Reviewing Giuliani opposition to motion to compel          9.0
                  Larsen           (1.5); Drafting outline to reply in support of motion to
                                   compel (4.0); Beginning to draft reply re the same
                                   (2.0); Legal research re the same (1.5).
05/02/23       John Langford       Review outline of motion to compel reply (0.5).            0.5
05/03/23      Annie Houghton-      Continuing to draft and revise reply in support of         5.0
                  Larsen           motion to compel (3.0); Legal research re the same
                                   (2.0).
05/03/23      John Langford        Review and revise motion to compel reply (1.7).            1.7
05/04/23     Meryl C. Governski    Provide edits and feedback to Reply ISO motion to          6.5
                                   compel (6.5).
05/04/23      Annie Houghton-      Revising reply to motion to compel (5.0); Reviewing        6.0
                  Larsen           correspondence re forensics declaration (1.0).
05/05/23      Annie Houghton-      Continuing to revise reply in support of motion to         0.8
                  Larsen           compel (0.8).


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05/06/23    Annie Houghton-     Revising reply to motion to compel (1.3).                  1.3
                 Larsen
05/08/23    Annie Houghton-     Finalizing reply in support of motion to compel            8.5
                 Larsen         Giuliani (8.5).
 Subtotal for Reply In Support of Plaintiffs’ Motion to Compel Defendant Giuliani:         39.3


           C. May 19 Discovery Hearing

 Date             Attorney                               Narrative                         Hours

05/15/23     Meryl C. Governski    Prepare for MTC hearing, including review of case law   1.2
                                   for motion to compel (1.2).
05/16/23     Meryl C. Governski    Draft opening statement for motion to compel hearing    2.2
                                   and prepare re the same (2.2).
05/17/23     Meryl C. Governski    Prepare for hearing on motion to compel (4.1).          4.1

05/18/23     Meryl C. Governski    Prepare for motion to compel hearing (4.9).             4.9

05/19/23     Meryl C. Governski   Prepare for and participate in motion to compel hearing 5.2
                                  (5.2).
                        Subtotal for May 19 Discovery Hearing:                            17.6


           D. Plaintiffs’ Combined Opposition to Defendant Giuliani’s Motion for
              Reconsideration and Response to Defendant’s Declaration

  Date             Attorney                              Narrative                         Hours

05/31/23      Meryl C. Governski   Review incoming Giuliani declaration and motion for     3.8
                                   reconsideration and draft opposition and response re
                                   the same (3.8).
06/02/23      Meryl C. Governski   Draft opposition to motion for reconsideration (2.0).   2.0

06/06/23      Meryl C. Governski Draft response to Giuliani declaration and opposition     9.1
                                 to motion for reconsideration (9.1).
06/06/23     Annie Houghton-     Continuing to draft supplement to omnibus motion to       1.0
                   Larsen        compel (1.0).
06/08/23     Annie Houghton-     Reviewing legal research re financial discovery for       0.5
                   Larsen        supplement to omnibus motion to compel (0.5).
06/13/23       John Langford     Review opposition to motion for reconsideration (1.1).    1.1
06/14/23    Meryl C. Governski Final review of opposition to motion for                    2.8
                                 reconsideration and supplemental filing (2.8).
06/14/23     Annie Houghton-     Finalizing opposition to motion for reconsideration       2.0
                   Larsen        and supplement to omnibus motion to compel (2.0).
Subtotal for Plaintiffs’ Combined Opposition to Defendant Giuliani’s Motion for            22.3
Reconsideration and Response to Defendant’s Declaration:

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   II.       Reasonable Hourly Rates

          A. Willkie Farr & Gallagher LLP’s Customary Hourly Rates

          Attorney                             Position                 Hourly Rate

 Meryl C. Governski                             Partner                   $1,450

Annie Houghton-Larsen                  Fifth Year Associate               $1,185

   Timothy P. Ryan                    Fourth Year Associate               $1,125



          B. Hourly Rates Under the LSI-Adjusted Laffey Matrix

          Attorney                   Years Out of Law School            Hourly Rate

 Meryl C. Governski                            8-10 years                  $733

Annie Houghton-Larsen                          4-7 years                   $508

   Timothy P. Ryan                             4-7 years                   $508

    John Langford                              8-10 years                  $733



   III.      Total Attorneys’ Fees

                A. Total Attorneys’ Fees Based On Willkie Farr & Gallagher LLP’s
                   Customary Hourly Rates and for John Langford, Based on the LSI-
                   Adjusted Laffey Matrix.

              Attorney                           Hours         Rate                Fees

          Meryl C. Governski             57.0                  $1,450      $82,650

     Annie Houghton-Larsen               54.6                  $1,185      $64,701

           Timothy P. Ryan               29.6                  $1,125      $33,300

            John Langford                6.3                   $733        $4,617.90




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        B. Total Attorneys’ Fees Based On the LSI-Adjusted Laffey Matrix.

      Attorney                      Hours             Rate                  Fees

 Meryl C. Governski          57.0                     $733         $41,781

Annie Houghton-Larsen        54.6                     $508         $27,736.80

   Timothy P. Ryan           29.6                     $508         $15,036.80

    John Langford            6.3                      $733         $4,617.90




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